Case 2:04-CV-02003-SHI\/|-tmp Document4l Filed 07/25/05 Page 1'0f2 Page|D 58

 

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Plaintiff,
vs. Civ. No. 04-2003-Ma[P

JOI'IN W. SNOW, et al.l

Defendants.

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ORDER GRANTING PLAINTIFF’S MOTION FOR CONTINUANCE OF SETTLEMENT
CONFERENCE

 

Before the court is plaintiff's Motion for Continuance of
Settlement Conference, filed July 18, 2005 (dkt #40). For good
cause shown and the defendants having no opposition to continue the
settlement conference, the motion is GRANTED. The settlement
conference is reset to Wednesday, August 17, 2005, at 9:30 a.m.
Counsel shall submit no later than close of business, Friday,
August 12, 2005, an in camera statement setting forth their
respective positions concerning all issues involved in the case,
including the rationale for such positions. Such statements shall
be for purposes of Judge Pham's review only and solely for use in

this settlement conference.

IT Is so oRDERED. \'M;@J\

TU\'.M PHAM
United States Magistrate Judge

\§ Vu,Q..,( J_.L, sworn
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Notice of Distribution

This notice confirms a copy of the document docketed as number 41 in
case 2:04-CV-02003 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

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Honorable Samuel Mays
US DISTRICT COURT

